                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                             CASE NO. 5:20-CV-00025-M
 IBRAHIMA DIOP,                               )
                                Plaintiff,    )
                                              )
 V.                                           )                    ORDER
                                              )
 BMW OF NORTH AMERICA, LLC,                   )
                      Defendant.              )




       This matter is before the Court on Defendant BMW of North America, LLC's Consent

Motion to Stay Discovery [DE-25]. For good cause shown, this Motion is GRANTED, and all

discovery in this matter shall be stayed pending the Court's ruling on Defendant' s Motion to

Dismiss Amended Complaint.


       IT IS THEREFORE ORDERED that all discovery is stayed until 30 days after the Court' s

ruling on the Motion to Dismiss Amended Complaint and further that the parties shall reconvene

the Rule 26(f) conference within 14 days following the Court's ruling on the Motion to Dismiss

Amended Complaint.


       SO ORDERED this the     ~~y of May, 2020.
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                                                       RICHARD E.      RS II
                                                       U.S. DISTRICT COURT JUDGE




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